                  Case 8:19-cv-00887-JVS-KES Document 10 Filed 05/21/19 Page 1 of 4 Page ID #:367



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                                                             WELLS FARGO BANK, N.A.,
                                                           6 successor by merger with Wells Fargo
                                                             Bank Southwest, N.A., f/k/a Wachovia
                                                           7 Mortgage, FSB, f/k/a World Savings
                                                             Bank, FSB (“Wells Fargo”) (erroneously
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                                                           8 sued as Wells Fargo, N.A.)
                                                           9                                   UNITED STATES DISTRICT COURT
                                                          10                              CENTRAL DISTRICT OF CALIFORNIA
                                                          11
                                                          12 KWADWO HWENSO ASARE-ANTWI,                         CASE NO.: 8:19-cv-00887-JVS-KES.
                                                                                                                [Hon. James V. Selna]
                                                          13                      Plaintiff,
                                                          14             v.                                     NOTICE OF RELATED CASE
                                                          15 WELLS FARGO, N.A.; QUALITY                         [Related case, Case No. 5:19-cv-
                                                             LOAN SERVICE CORPORATION;                          00928-AB-SP]
                                                          16 CLEAR RECON CORP; DOES 1
                                                             through 5 inclusive,
                                                          17
                                                                          Defendants.
                                                          18
                                                          19
                                                          20 TO THE HONORABLE COURT, TO PLAINTIFF, AND HIS COUNSEL OF
                                                          21 RECORD:
                                                          22             PLEASE TAKE NOTICE that defendant WELLS FARGO BANK, N.A.,
                                                          23 successor by merger with Wells Fargo Bank Southwest, N.A., f/k/a Wachovia
                                                          24 Mortgage, FSB, f/k/a World Savings Bank, FSB (“Wells Fargo”) (erroneously
                                                          25 sued as Wells Fargo, N.A.) hereby informs the Court of a related case as required
                                                          26 by Local Rule 83-1.3.
                                                          27             First Action. On April 17, 2019, plaintiff Kwadwo Hwenso Asare-Antwi
                                                          28 (“plaintiff”) brought an action in Orange County Superior Court entitled Kwadwo

                                                               94000/HR1574/02306855-1                      1                       NOTICE OF REMOVAL
                  Case 8:19-cv-00887-JVS-KES Document 10 Filed 05/21/19 Page 2 of 4 Page ID #:368



                                                           1 Hwenso Asare-Antwi v. Wells Fargo N.A.; et al., Case No. 30-2019-01064444-CU-
                                                           2 OR-CJC. (the “First Action”.) Wells Fargo removed the First Action on May 10.
                                                           3 2019 based on federal question and diversity jurisdiction, and the matter has been
                                                           4 assigned to the Honorable James V. Selna, Case No. 8:19-cv-00887-JVS-KES.
                                                           5             Second Action. On January 22, 2019, plaintiff brought a second suit in
                                                           6 Riverside County Superior Court, entitled Kwadwo Hwenso Asare-Antwi v. Wells
                                                           7 Fargo N.A.; et al., Case No. RIC1902495 (the “Second Action”.) Wells Fargo
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                                                           8 removed the Second Action on May 17, 2019 based on federal question and
                                                           9 diversity jurisdiction, and the matter has been assigned to the Honorable Andre
                                                          10 Birotte Jr, Case No. 5:19-cv-00928-AB-SP.
                                                          11             The First Action and Second Action involve mortgage loans to plaintiff that
                                                          12 were originated by Wells Fargo’s predecessors, World Savings Bank, FSB and
                                                          13 Wachovia Mortgage, FSB. All of the loans involved “Pick-A-Payment”
                                                          14 promissory notes. These loans included a feature that allowed the borrower to
                                                          15 defer payments of interest, and the deferred interest would be added to the unpaid
                                                          16 principal, and negative amortization could occur. The two loans in the First
                                                                Action were secured by properties in Orange County; the loan in this Second
                                                          17
                                                                Action is secured by a property in Riverside County.
                                                          18
                                                                         In both actions, plaintiff challenges foreclosure proceedings initiated by
                                                          19
                                                                Wells Fargo on the same ground, namely that Wells Fargo did not succeed to
                                                          20
                                                                World Savings’ and Wachovia’s interests in the deeds of trust. Case law
                                                          21
                                                                establishes that World Savings and Wachovia became Wells Fargo through a
                                                          22
                                                                name change and merger, so the same authority and evidence will be dispositive in
                                                          23
                                                                both cases. Plaintiff seeks the same relief on this issue: a judicial declaration that
                                                          24 Wells Fargo had no right to foreclose on loans originated by World Savings and
                                                          25 Wachovia.
                                                          26             Furthermore, plaintiff challenges the terms of his Pick-A-Payment loans,
                                                          27 and he asserts that the loans are predatory for identical reasons. He claims he was
                                                          28 not warned of the effect of the deferred interest and negative amortization

                                                               94000/HR1574/02306855-1                       2                        NOTICE OF REMOVAL
                  Case 8:19-cv-00887-JVS-KES Document 10 Filed 05/21/19 Page 3 of 4 Page ID #:369



                                                           1 provisions in any of the notes, and he asks that the courts rewrite all of the notes to
                                                           2 eliminate these provisions.
                                                           3             Wells Fargo’s defenses will be substantially similar in both actions. Among
                                                           4 other things, plaintiff’s claims challenging the deferred interest and negative
                                                           5 amortization provisions of World Savings and Wachovia Pick-A-Payment loans
                                                           6 were released in a class action settlement (see In re Wachovia Corp. “Pick-A-
                                                             Payment” Mortg. Mktg. & Sales Prac. Litig., 2011 U.S. Dist. LEXIS 55351, *6
                                                           7
                                                             (N.D. Cal. May 17, 2011) (opinion and order granting final approval of class
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                                                           8
                                                             action settlement) and are now barred by res judicata. Likewise, his state law
                                                           9
                                                             claims are subject to preemption under the Home Owner’s Loan Act (HOLA)
                                                          10
                                                             because plaintiff is challenging the manner in which a federal savings bank
                                                          11
                                                             originated a mortgage loan.
                                                          12
                                                                   The key parties in both actions are plaintiff (the borrower on each of the
                                                          13
                                                             loans) and Wells Fargo (the successor to the originating lenders and the servicer of
                                                          14 each of the loans). Plaintiff has joined the foreclosure trustees as parties, but their
                                                          15 acts are merely ministerial. Plaintiff challenges the foreclosure proceedings based
                                                          16 on whether Wells Fargo had standing to commence foreclosure at all.
                                                          17             Because the First Action and the Second Action involve the same or similar
                                                          18 issues of fact and law, relating the cases is likely to promote judicial economy.
                                                          19 Relating the cases also will serve to avoid inconsistent rulings on identical legal
                                                          20 issues.
                                                          21
                                                                Dated: May 20, 2019             Respectfully submitted,
                                                          22
                                                                                                ANGLIN, FLEWELLING, RASMUSSEN,
                                                          23                                       CAMPBELL & TRYTTEN LLP
                                                          24
                                                                                                By:             /s/ Leigh O. Curran
                                                          25                                          Attorneys for Defendant WELLS FARGO
                                                          26                                          BANK, N.A., successor by merger with Wells
                                                                                                      Fargo Bank Southwest, N.A., f/k/a Wachovia
                                                          27                                          Mortgage, FSB, f/k/a World Savings Bank,
                                                          28                                          FSB) (erroneously sued as Wells Fargo, N.A.)

                                                               94000/HR1574/02306855-1                     3                       NOTICE OF REMOVAL
                  Case 8:19-cv-00887-JVS-KES Document 10 Filed 05/21/19 Page 4 of 4 Page ID #:370



                                                           1                               CERTIFICATE OF SERVICE
                                                           2
                                                                    I, the undersigned, declare that I am over the age of 18 and am not a party to
                                                           3 this action. I am employed in the City of Pasadena, California; my business
                                                             address is Anglin, Flewelling, Rasmussen, Campbell & Trytten LLP, 301 N. Lake
                                                           4 Ave, Suite 1100 Pasadena, CA 91101-4158
                                                           5            On the date below, I served a copy of the foregoing document entitled:
                                                           6                              NOTICE OF RELATED CASE
                                                           7
                                                               on the interested parties in said case as follows:
A NGLIN F LEWELLING R ASMUSSEN C AMPBELL & T RYTTEN LLP




                                                           8
                                                               Served By Means Other than Electronically Via the Court’s CM/ECF System
                                                           9
                                                                           Attorneys for Plaintiff:            Attorneys for Clear Recon Corp.:
                                                          10
                                                                          Ronald H. Freshman                           Fred T. Winters. Esq.
                                                          11       Law Offices ofthRonald H. Freshman                  Casper J. Rankin, Esq.
                                                                      222 west 6 Street. Suite 400                    ALDRIDGE PITE, LLP
                                                          12             San Pedro, CA 90731                        4375 Jutland Drive, Suite 200
                                                                                                                          P.O. Box 17935
                                                          13                Tel: (858) 756-8288                        San Diego, CA 92177
                                                                            Fax: (858) 964-1728                         Tel: (858) 750-7600
                                                          14                                                           Fax: (858) 412-2657
                                                          15                                                   Email: fwinters@aldrigepite.com
                                                          16
                                                                      BY MAIL: I am readily familiar with the firm’s practice of collection and
                                                          17           processing correspondence by mailing. Under that same practice it would
                                                                       be deposited with U.S. Postal Service on that same day with postage fully
                                                          18           prepaid at Pasadena, California in the ordinary course of business. I am
                                                                       aware that on motion of the party served, service is presumed invalid if
                                                          19           postal cancellation date or postage meter date is more than one day after
                                                                       date of deposit for mailing in affidavit.
                                                          20
                                                                    I declare under penalty of perjury under the laws of the United States of
                                                          21 America that the foregoing is true and correct. I declare that I am employed in
                                                             the office of a member of the Bar of this Court, at whose direction the service
                                                          22 was made. This declaration is executed in Pasadena, California on May 21,
                                                             2019.
                                                          23
                                                          24                       Carol Leach                             /s/ Carol Leach
                                                          25                   (Type or Print Name)                    (Signature of Declarant)

                                                          26
                                                          27
                                                          28

                                                               94000/HR1574/02306855-1
                                                                                                                                CERTIFICATE OF SERVICE
